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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                               CRIMINAL MINUTES - GENERAL




 Case No.          CR 08-582-GW                                                                      Date    May 18, 2009


 Present: The Honorable         GEORGE H. WU, UNITED STATES DISTRICT JUDGE

 Interpreter       None

                                                                                                Mark Krause; Yvonne Garcia;
                Andrea Keifer                            Wil Wilcox                                   Thomas O’Brien
                Deputy Clerk                 Court Reporter/Recorder, Tape No.                        Assistant U.S. Attorney



                U.S.A. v. Defendant(s):            Present Cust. Bond              Attorneys for Defendants:         Present App. Ret.

Lori Drew                                            U                U       H. Dean Steward                             U                U

 Proceedings:        RULE 29 MOTION; SENTENCING


The Court and counsel confer regarding the Presentence Report. Statements are made by Ron Meier and Tina
Meier.

The Motion remains under submission. Court to issue a ruling.

For the reasons on the record, Sentencing is continued to July 2, 2009 at 11:00 a.m. The parties are to contact
the clerk on July 1, 2009 to confirm the time of the hearing.

IT IS SO ORDERED.




                                                                                                            1         :         15

                                                                          Initials of Deputy Clerk     AK




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